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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 15-CV-22208-AMS

  BEYMAR OSIEL PEREZ RAMIREZ,            )
  and all others similarly situated under)
  29 U.S.C. § 216(b),                    )
                                         )
              Plaintiff,                 )
                                         )
        vs.
                                         )
                                         )
  PINNACLE A ROOFING COMPANY,            )
  PINNACLE ROOFING INC., and ROBERT      )
  THOMAS                                 )
                                         )
              Defendants.                )
  _______________________________________)

           ORDER GRANTING JOINT MOTION FOR APPROVAL OF SETTLEMENT
                AGREEMENT AND DISMISSING CASE WITH PREJUDICE

           Having reviewed the Confidential Settlement Agreement Waiver and Release between

  Plaintiff, BEYMAR OSIEL PEREZ RAMIREZ and Defendants, PINNACLE A ROOFING

  COMPANY and ROBERT THOMAS, and it appearing to the Court that due cause exists to

  approve settlement and dismiss the case with prejudice regarding Plaintiff’s claims against

  Defendants Pinnacle A Roofing Company and Robert Thomas, with the Court to retain

  jurisdiction to enforce the terms of the Confidential Settlement Agreement Waiver and Release,

  it is:

           ORDERED and ADJUDGED that the Parties' Joint Motion for Court Approval of

  Settlement Agreement, ECF No. [65], is GRANTED; the Settlement Agreement is hereby

  APPROVED by the Court under Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th

  Cir. 1982); and this case is DISMISSED WITH PREJUDICE as to of Plaintiff’s claims

  against Defendants Pinnacle A Roofing Company and Robert Thomas, pursuant to the terms of

  the Confidential Settlement Agreement, Waiver and Release and with the Court to retain
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  jurisdiction to enforce the terms of the Confidential Settlement Agreement, Waiver and Release

  until August 1, 2016.

         DONE AND ORDERED in chambers, at Miami, Florida, this June 8, 2016.

                                             ____________________________________
                                             ANDREA M. SIMONTON
                                             UNITED STATES MAGISTRATE JUDGE
  cc: All Counsel of Record




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